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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

v. CASE NO: LKG-22-007
MARILYN MOSBY,

Defendant.

PROTECTIVE ORDER GOVERNING
MARYLAND STATE ETHICS COMMISSION MATERIAL

The Government has filed a Motion for Protective Order in the above-referenced matter to
expedite the flow of discovery material among the parties, facilitate the prompt resolution of
disputes over confidentiality; to assure the preservation of Protected Personal Identity and Ethics
Advice Information found on documents subject to criminal discovery; and to ensure that
protection is afforded to material so entitled, including but not limited to the mandates of the
following legislation: the Privacy Act, 5 U.S.C. §552a. It is therefore, pursuant to the Court’s
authority under Fed. R. Civ. P. 16, ORDERED:

The United States may produce Protected Information to counsel for the defendants
pursuant to the Government’s obligations under Fed. R. Crim. P. 16 and Standing Order 2020-01.
In addition, the Protected Information may be subject to additional protection under Fed. R. Crim.
P. 49.1, the Local Rules of this Court, and Federal Law. The United States shall produce these
documents containing Protected Information to the defendant. Upon producing these documents
to the defendants, the United States shall designate them as “confidential” as set forth below.

To designate Protected Information subject to this Protective Order, the United States shall
so designate, on the material itself, in an accompanying cover letter, on a diskette cover or label,

or interrogatory or request for admission response, by using the following designation:
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“CONFIDENTIAL INFORMATION — SUBJECT TO PROTECTIVE ORDER.”

The parties may use the Protected Information only for purposes of this litigation and may
not disclose such Protected Information to anyone not specifically entitled to access under this
Protective Order. Each party’s counsel, and individuals participating in the case at the direction
of counsel, may only use the Protected Information for the purposes of this criminal case, including
any appeal, and may only disclose the Protected Information to non-parties to this litigation, which
will be limited to experts and outside investigators retained by the respective parties.

This Protective Order does not prevent any party from objecting to discovery that it
believes to be otherwise improper. Further, this Protective Order does not constitute a ruling on
the question of whether any particular material is properly discoverable or admissible and does not
constitute a ruling on any potential objection to the discoverability or admissibility of any material.

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SO ORDERED this a day of November, 2023.

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Used States District Judge

